       Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 1 of 10



                       United States District Court
                         District of Massachusetts

                                      )
United States of America,             )
                                      )
            Plaintiff,                )
                                      )
            v.                        )     Criminal Action No.
                                      )     19-10080-NMG
Sidoo et al,                          )
                                      )
            Defendants.               )
                                      )


                            MEMORANDUM & ORDER

GORTON, J.

       The government has charged defendants with conspiring with

William “Rick” Singer (“Singer”) to have their children

fraudulently admitted to elite universities by, inter alia,

fabricating applications, falsifying academic and athletic

credentials, cheating on standardized tests, making payments to

corrupt exam proctors and bribing university employees and

athletic coaches.      The defendants have moved to dismiss the

indictment on the basis that venue is improper in the District

of Massachusetts.      For the following reasons that motion will be

denied.

  I.      Background

       The facts of this case have been extensively recited

several times by this Court. See Docket Nos. 1169, 1334 and

1373.    Relevant to venue in this District, the Fourth

                                     -1-
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 2 of 10



Superseding Indictment (“the FSI”) alleges that defendants

engaged in the following acts in furtherance of the conspiracy

to gain admission for their children to universities, including

those located in the District of Massachusetts:


  (1)   Defendants submitted fraudulent transcripts to
        universities, including those in the District of
        Massachusetts.

  (2)   Singer mailed at least one check from Massachusetts to
        USC athletics administrator Donna Heinel in exchange for
        her participation in the “side-door” scheme.

  (3)   Fraudulent ACT scores obtained by Mark Riddell (a corrupt
        test proctor) were submitted on behalf of defendant Chen
        via interstate wire to Emerson College in Boston,
        Massachusetts and on behalf of Defendant McGlashan to
        Northeastern University in Boston.

  (4)   Defendant Wilson, via his company, wired funds totalling
        $1 million to an account, located in the District of
        Massachusetts, in the name of The Key Worldwide
        Foundation (“KWF”).

  (5)   The high school transcript of Defendant Zangrillo’s
        daughter which reflected credits earned in a fraudulent
        class-taking scheme, was emailed by Singer’s associates
        to Boston University in Boston, Massachusetts.

  (6)   Consensually recorded calls between Singer and a number
        of defendants occurred while Singer was located in
        Massachusetts.

  (7)   Defendants conspired to conceal their payments by
        funneling them through The Key and/or KWF, both of which
        had accounts located in Massachusetts. The FSI alleges
        that Singer used those fraudulent entities to bribe
        athletic coaches and to conceal the scheme.

  Defendants protest that venue is improper in the District of

Massachusetts as to Counts One, Two and Three.        Count One of the


                                 - 2 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 3 of 10



FSI charges the defendants with conspiracy to commit mail and

wire fraud and honest services mail and wire fraud, in violation

of 18 U.S.C. § 1349.   Count Two of the FSI charges nine of the

defendants with conspiring to commit federal programs bribery by

bribing agents of the University of Southern California (“USC”)

in order to secure the admission of their children to that

university.   Count Three of the FSI charges the defendants with

conspiracy to commit money laundering in connection with

payments made to KWF and The Key in furtherance of the

admissions scheme.

  II.   Motion to Dismiss for Lack of Venue

  A. Legal Standard

  The Sixth Amendment to the United States Constitution

guarantees a defendant’s right to trial “by an impartial jury of

the State and district wherein the crime shall have been

committed.” U.S. Const. amend. VI.       In order to address

continuing offenses like conspiracy, Congress enacted 18 U.S.C.

§ 3237(a) (1994) which states that:


  any offense against the United States begun in one district
  and completed in another, or committed in more than one
  district, may be inquired of and prosecuted in any district in
  which such offense was begun, continued, or completed.

And, as set forth by Federal Rule of Criminal Procedure 18:

  Unless a statute or these rules permit otherwise, the
  government must prosecute an offense in a district where the
  offense was committed.

                                 - 3 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 4 of 10




     In a conspiracy prosecution, venue is proper “so long as

any act in furtherance of the conspiracy was committed in the

district.” United States v. Uribe, 890 F.2d 554, 558 (1st Cir.

1989).   A defendant need not have been physically present in the

district. Id.; see also United States v. Josleyn, 99 F.3d 1182,

1191 (1st Cir. 1996)(noting that “[a]s a general rule, venue in

a conspiracy case depends upon whether an overt act in

furtherance of the alleged conspiracy occurred in the trial

district.   The defendant need not have been physically present

in the trial district during the conspiracy”)(internal citation

omitted).

     When considering a motion to dismiss in a criminal case, a

court accepts the factual allegations in the indictment as

true. Boyce Motor Lines, Inc. v. United States, 342 U.S. 337,

343 n.16 (1952).   A motion to dismiss for lack of venue should

be granted, therefore, only if the “indictment does not

‘sufficiently allege[ ] conduct occurring in the District of

Massachusetts in furtherance of the conspiracy...’” United

States v. Acherman, 140 F. Supp. 3d 113, 117 (D. Mass.

2015)(quoting United States v. Condo, No. 11–cr–30017–NMG, 2014

WL 1400817, at *1 (D. Mass. Apr. 7, 2014).




                                 - 4 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 5 of 10



  B. Application

                 1. Count One

     Defendants’ argument that venue is improper as to Count One

is premised on their contention that the government has failed

properly to allege a single conspiracy.      They maintain that

because no single conspiracy exists, the Court must analyze each

defendant’s distinct relationship to this District and that the

specific allegations in the FSI are insufficient to establish

venue as to each defendant individually.

     This Court has previously held that, on its face, the FSI

adequately alleges a single over-arching conspiracy.        Because

the FSI properly alleges a single conspiracy, a single act in

furtherance of the conspiracy by a co-conspirator in this

District is sufficient to confer venue.      See United States v.

Santiago, 83 F.3d 20, 25 (1st Cir. 1996).

     As detailed above, the FSI alleges numerous acts by co-

conspirators in furtherance of the conspiracy which occurred in

Massachusetts.     For example, in the case against Defendant

Zangrillo, this Court previously explained that the FSI

sufficiently alleges that when he submitted fraudulent

transcripts to Boston University on behalf of his daughter, he

did so as part of the larger fraud and in furtherance of the

fraudulent scheme.     Venue is therefore proper in this District.



                                 - 5 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 6 of 10



                 2. Count Two

     Defendants next contend that venue in this District is

improper as to the federal programs bribery conspiracy alleged

in Count Two because (1) it is centered around the University of

Southern California and (2) the FSI does not allege that overt

acts in furtherance of that conspiracy occurred in

Massachusetts.

     Specifically, defendants submit that the allegation that

Singer mailed a check from Massachusetts to Heinel in exchange

for facilitating the admission of Defendant Abdelaziz’s daughter

to USC as a purported athletic recruit does not support venue.

Defendants maintain that (1) the Singer-Heinel agreement was a

separate and distinct arrangement formed after Singer had

already agreed with the defendants to effectuate the over-

arching admissions scheme and (2) because Singer was, at that

point, a cooperating witness he cannot have been a co-

conspirator.

     The government rejoins that (1) the Singer-Heinel

arrangement was part of the larger conspiracy and (2) the fact

that Singer was cooperating with the government when he mailed

the check is irrelevant for the purpose of determining venue.

The government further explains that all the overt acts alleged

with respect to Count One are re-alleged and incorporated by

reference in Count Two.

                                 - 6 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 7 of 10



     The FSI properly alleges that at the time Singer mailed the

checks to Heinel a single over-arching conspiracy was ongoing.

According to the government, those checks were sent in

furtherance of that conspiracy, not as part of a distinct

agreement.    That the defendants may not have been aware of the

exact arrangement between Singer and Heinel is immaterial at

this stage.    United States v. Berroa, 856 F.3d 141, 154 (1st

Cir. 2017)(noting that “[t]he government need not show that . .

. the conspirators knew all of the details of the conspiracy or

participated in every act in furtherance of the conspiracy”).

Whether the defendants were aware that their payments were going

to corrupt insiders or possessed the requisite corrupt intent is

an issue of fact for the jury.     Because the FSI alleges that

Singer mailed a January, 2019, check from Massachusetts in

furtherance of the conspiracy, venue as to Count Two is proper.

     Moreover, that Singer was cooperating at the time he mailed

the check does negate venue in this District.       As the Court has

explained, the FSI properly alleges one over-arching conspiracy

which includes Singer, the defendants and Heinel.        As the

government notes, the FSI alleges that all defendants and co-

conspirators remained a part of the continuing conspiracy after

Singer began cooperating with the government. See United States

v. Portela, 167 F.3d 687, 700 n.8 (1st Cir. 1999)(noting that

“[t]he rule that government agents do not count as co-

                                 - 7 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 8 of 10



conspirators has relevance only in situations where the

conspiracy involves only one defendant and a government

informer.”); United States v. Cordero, 668 F.2d 32, 43 (1st Cir.

1981).   Because Singer mailed a check from Massachusetts in

furtherance of the ongoing conspiracy, venue is proper in this

District regardless of the fact that he may have been

cooperating with the investigation at that time.

               3. Count Three

     Finally, defendants argue that the FSI’s allegations

describing the money laundering conspiracy do not identify

payments made to or from accounts located in this District.            As

the Court has previously held, the FSI sufficiently alleges a

money laundering conspiracy.      According to the government, the

scheme operated in stages.      Defendants first allegedly made

payments to KWF and The Key with the intent that Singer would

use the proceeds to pay Heinel and others.       Singer then used

that money to pay the corrupt insiders and effectuate the

admissions scheme.

     The FSI alleges that Singer mailed a check to Heniel from

Massachusetts and that Defendant Wilson made payments from

accounts located in Massachusetts to Singer’s fraudulent

entities.   Both payments are alleged to have been made in

furtherance of the money laundering conspiracy and establish

that venue is proper in this District.      Moreover, the FSI

                                  - 8 -
      Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 9 of 10



alleges generally that Singer funneled bribes through his

fraudulent entities to athletic coaches and administrators in

the District of Massachusetts.       Because, with respect to a

motion to dismiss, the Court is to construe the allegations in

an indictment as true, those allegations are sufficient to

establish venue.

                4. Foreseeability

      Defendants next argue that even if the FSI properly alleges

a single conspiracy, this Court should adopt the foreseeability

test articulated by the Second Circuit Court of Appeals.           United

States v. Svoboda, 347 F.3d 471, 483 (2d Cir. 2003).          The Second

Circuit test requires that


      (1) defendant intentionally or knowingly causes an act in
      furtherance of the charged offense to occur in the district
      of venue or (2) it is foreseeable that such an act would
      occur in the district of venue.

Id.

      As the government notes (and defendants concede) the First

Circuit has not adopted such a foreseeability requirement and

several other circuits have explicitly rejected such as test in

the context of section 3237(a). See United States v. Renteria,

903 F.3d 326, 329-30 (3d Cir. 2018); United States v. Gonzalez,

683 F.3d 1221, 1226 (9th Cir. 2012).        A foreseeability test is

required by “neither the text of the Constitution nor of



                                   - 9 -
    Case 1:19-cr-10080-NMG Document 1399 Filed 07/16/20 Page 10 of 10



§ 3237(a)” and this Court will not adopt such a test. Renteria,

903 F.3d at 330.


                                 ORDER

     For the foregoing reasons, defendants’ motions to dismiss

the indictment for improper venue (Docket No. 1019) is DENIED.




So ordered.


                                         /s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge
Dated July 16, 2020




                                 - 10 -
